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                IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                         )
                                                 )
               vs.                               )         Criminal No. 20-100
                                                 )
DEAN BRITTON,                                    )
                                                 )
                              Defendant.         )


                           HEARING ON - SENTENCING (hybrid)
                              Before Judge Nora Barry Fischer

Carolyn Bloch, AUSA                              Stanley Greenfield, Esq.
Christopher Burke, Special Agent IRS-CI
Appear for USA                                  Appear for Defendant

Probation – John Sims

Hearing begun    1/6/22 at 9:30 a.m.             Hearing adjourned to
Hearing concluded 1/6/22 at 4:00 p.m.            Stenographer: V. Trettle
                                                 Clerk: B. Kravetz

                                           WITNESSES:
        For Government                                        For Defendant
                                                             (1) Barry Funt (1/6/2022)
                                                             (2) Jessie Britton (1/6/2022)

Court conducts hybrid sentencing with Defendant, counsel and witnesses in person and other
attendees via video conference; Oath administered to Defendant; Court finds Defendant competent to
proceed; Court details background of case; Court asks defendant questions re: Presentence Report,
Addendum, & Tentative Findings, defendant answers & understands; Court remarks on Guidelines
and pertinent Supreme Court & Circuit Court decisions; Court notes that parties have no further
objections to Presentence Report; Court adopts the Presentence Report & addendum, except as
otherwise set forth in the Court’s Tentative Findings & Rulings; Court adopts its Tentative Findings
& Rulings as its Initial Findings and Rulings; Court accepts evidence from the parties; Defendant
makes statement to the Court; Court makes factual findings regarding evidence presented; Court
hears argument from counsel regarding appropriate sentence and Defendant motion for variance;
Court grants, in part and denies, in part, Defendant’s motion for variance. Sentence imposed: 15
months’ incarceration followed by 3 years’ supervised release with standard and additional
conditions; restitution ordered in amount of $1,994,483.35 (i.e., net tax due and owing of
$1,103,352.04 and interest of $891,131.31 through 1/6/22); $100 special assessment; fine waived;
Court states its reasons for imposition of Sentence; Court advises Defendant of appeal rights; the
parties did not request a transcript and it was not ordered at this time. The transcript was not
requested and it was not ordered at this time. Exhibit List follows.
